4:07-cr-03079-RGK-DLP        Doc # 107    Filed: 12/03/08    Page 1 of 1 - Page ID # 486




                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                 )
                                          )
                    Plaintiff,            )                   4:07CR3079
                                          )
             V.                           )
                                          )
JOSE ROMO-CORRALES,                       )                     ORDER
                                          )
                    Defendant.            )

      On the oral motion of defense counsel,

       IT IS ORDERED that Defendant Romo-Corrales’ sentencing is rescheduled to
Monday, December 22, 2008, at 11:00 a.m., before the undersigned United States district
judge, in Courtroom No. 1, United States Courthouse and Federal Building, 100 Centennial
Mall North, Lincoln, Nebraska. The defendant shall be present unless excused by the court.

      December 3, 2008.

                                         BY THE COURT:

                                         S/Richard G. Kopf
                                         United States District Judge
